       Lynda M. Hill                                                           615-736-2793
       CLERK OF COURT




                                        February 14, 2024

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RE:    Westbrook, et al. v. Thrive Restaurant Group, LLC, et al. Case No. 3:23-cv-00771

Dear Counsel:

        The current terms of office of United States Magistrate Judge Alistair Newbern and United
States Magistrate Judge Jeffery S. Frensley expire on August 31, 2024, and October 9, 2024,
respectively. The United States District Court is required by law to establish a panel of citizens to
consider the reappointment of the magistrate judges to new eight-year terms. On February 9, 2024,
the Court entered an order appointing the following individuals to serve on this Merit Selection
Panel:

                               Joycelyn A. Stevenson, Esq., Chair
                               Paul J. Bruno, Esq.
                               Joseph B. Crace, Jr., Esq.
                               Michelle J. Handelsman, Esq.
                               Jesse Ford Harbison, Esq.
                               Alex Jahangir, M.D.
                               Che Mock, Esq.
                               Anne Neff, M.D.
                     FRED D. THOMPSON U.S. COURTHOUSE AND FEDERAL BUILDING
                                  719 CHURCH STREET, SUITE 1300
                                   NASHVILLE, TENNESSEE 37203

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                               Gregory S. Reynolds, Esq.
                               G. Andrew Rowlett, Esq.

        During the 90-day period of time that the Panel is evaluating the incumbent and considering
what recommendation to make concerning reappointment, a perception could be created in
reasonable minds that the magistrate judge's ability to carry out judicial responsibilities with
impartiality is impaired in any case involving an attorney or a party who is a member of the panel.
Therefore, under Canon 3C(1) of the Code of Conduct for United States Judges, a magistrate judge
is required to recuse in such a case, unless all the parties and lawyers, after notice of the basis for
the disqualification, agree in writing to waive the disqualification under a procedure independent
of the judge’s participation. Canon 3D.

        If you and your client(s) wish to waive the judge’s potential disqualification, counsel must
sign this letter below and send it to me at Lynda_Hill@tnmd.uscourts.gov by the close of business
on Friday, February 23, 2024. Copies of your executed forms should not be sent to the judge
nor to other counsel. If all counsel execute and submit this form, this notice and all responses will
be made part of the record, as required by Canon 3D, and the judge will continue participation in
the proceeding. If a waiver is not timely received from all counsel, this notice and any responses
received will be kept under seal and not shown to the judge, nor will the judge be informed of the
identity of any party or lawyer who declined to waive the disqualification. If the disqualification
is not waived, the case will be reassigned to another judge during the 90-day period, until May 11,
2024.

       Please contact me if you have any question regarding this disclosure or procedure.



                                                       Sincerely,



                                                       Lynda M. Hill
                                                       Clerk of Court




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